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                         UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                             )
                                                       )
                         Plaintiff,                    )
                                                       )
 v.                                                    )       Case No. 07-CR-0195-002-CVE
                                                       )
 JOSEPH LYNN THORNBURGH,                               )
                                                       )
                         Defendant.                    )


                                      OPINION AND ORDER

        This matter comes on for consideration of defendant’s Motion Requesting for Bail Pending

 Appeal (Dkt. # 424). Defendant was convicted on charges of conspiracy to commit mail or wire

 fraud in violation of 18 U.S.C. § 1349 and conspiracy to launder money or engage in monetary

 transactions involving property derived from unlawful activity in violation of 18 U.S.C. § 1956(h).

 On October 29, 2009, the Court sentenced defendant to 292 months imprisonment. Defendant asks

 the Court to release him while his appeal to the Tenth Circuit Court of Appeals is pending. He

 asserts that he is not a flight risk or a danger to any other person or the community, and states that

 he has raised non-frivolous arguments on appeal. Defendant’s request is authorized by 18 U.S.C.

 § 3143, which states:

        the judicial officer shall order that a person who has been found guilty of an offense
        and sentenced to a term of imprisonment, and who has filed an appeal or a petition
        for writ of certiorari, be detained, unless the judicial officer finds--

        (A) by clear and convincing evidence that the person is not likley to flee or pose a
        danger to the safety of any other person or the community if released under section
        3142(b) or (c) of this title; and

        (B) that the appeal is not for the purpose of delay and raises a substantial question
        of law or fact likely to result in--
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                (i) reversal,

                (ii) an order for a new trial,

                (iii) a sentence that does not include a term of imprisonment, or

                (iv) a reduced sentence to a term of imprisonment less than the total of the
                time already served plus the expected duration of the appeal process.

 18 U.S.C. § 3143(b)(1).

        Defendant is represented by counsel, Fred Randolph Lynn, but he filed this motion pro se.

 However, defendant does not have the right to “hybrid” representation, and he cannot choose to

 represent himself on select issues. United States v. McKinley, 58 F.3d 1475, 1481 (10th Cir. 1995);

 United States v. Bennett, 539 F.2d 45, 49 (10th Cir. 1976). The Court has the discretion to consider

 pro se filings by a criminal defendant who is represented by counsel, but is not obligated to accept

 such filings. Bennett, 539 F.2d at 49. Defendant filed a notice of appeal (Dkt. # 338) on November

 2, 2009, and he waited over seven months before filing a motion for release pending appeal. He has

 not explained his delay in filing this motion or why his attorney has not filed this motion on

 defendant’s behalf, and the Court finds that defendant’s pro se motion for release pending appeal

 should not be considered.

        Even if the Court were to consider defendant’s pro se motion, defendant has not made a

 colorable showing that he would be entitled to release pending appeal. Defendant requested a self-

 report date at his sentencing hearing, and the Court denied defendant’s request. The Court

 determined that defendant was a flight risk due to the length of his sentence, and did not permit him

 to self-report to prison. In order to grant bail pending appeal, defendant must show (1) by clear and

 convincing evidence that he is not likely to flee or pose a danger to any other person or the

 community if released and (2) that the appeal was not filed for the purpose of delay and raises a

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 substantial question of law or fact likely to result in reversal of all counts for which imprisonment

 has been imposed. 18 U.S.C. § 3143(b)(1); United States v. Meyers, 95 F.3d 1475, 1489 (10th Cir.

 1996). Nothing in defendant’s motion for release pending appeal suggests that the Court should

 reconsider its prior ruling that defendant is a flight risk. Defendant was sentenced to 292 months

 imprisonment, which is a substantial sentence. Defendant states that “the Court may be assured that

 Appellant will [not] go into hiding but will respond to Court orders by reason of the fact that he is

 responsible.” Dkt. # 424. Defendant’s assurance does not prove by clear and convincing evidence

 that he is not a flight risk, and defendant’s statement is not a sufficient basis for the Court to

 reconsider its prior finding that defendant is a flight risk.

         IT IS THEREFORE ORDERED that defendant’s Motion Requesting for Bail Pending

 Appeal (Dkt. # 424) is denied.

         DATED this 22nd day of June, 2010.




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